Case 2:92-cv-02062-.]PI\/|-tmp Document 2004 Filed 06/22/05 Page 1 of 5 P ge|D 9667

 

UNITED sTATEs DISTRICT CoURT _.
FoR THE WESTERN I)ISTRICT oF TENNESSEEJS JUN 22 AH 9¢ ltd

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§§D_ 0§'- TN, mEMPHr`§
UNITED STATES OF AMERICA,

Plaintiff,
Civil Action No.: 92-2062 D/P

V.

STATE OF TENNESSEE, et al.,
Defendants, and

PEOPLE FIRST OF TENNESSEE
on behalf of its members,

PARENT-GUARDIAN ASSOCIATION
OF ARLINGTON DEVELOPMENTAL
CENTER,

Intervenors.

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')RDER CONTINUING HEARING ON PGA’S TRO MOTION

 

The Court has received and reviewed the joint motion of the Plaintiff the United States of
Ameriea, Defendants the State of Tennessee, et al., Intervenors People First of Tennessee, et al.,
and Intervenor Parent Guardian Association of Arlington Developmental Center (“PGA” and
collectively with the other parties the “Parties”) to continue the hearing on the Motion for
Temporary Restraining Order (the “TRO Motion”), Whieh is set to recommence on July 25,
2005. In their motion, the Parties state that they seek this continuance for three primary reasons:

flrst, the parties remain committed to exploring the possibility of resolving these issues through
a settlement that can be agreed to by all of the parties, including PGA, the movant for the

temporary restraining order and other relief; second, on June 2, 2005, the Sixth Circuit heard

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Case 2:92-cv-02062-.]P|\/|-tmp Document 2004 Filed 06/22/05 Page 2 of 5 Page|D 9668

argument of two appeals that Will directly impact the Motion and each of the Parties believe that
it makes sense for the Court and the litigants to delay expending their resources and the valuable
resources of this Court for a lengthy hearing until these appeals are decided; and, third, a task
force organized by the State of Tennessee to develop a three-year community plan in west
Tennessee, including development of appropriate provider capacity for residential and ancillary
services in the community, will not complete its planning efforts until August 2005, and the task
force’s planning may be helpful to the resolution of the TRO Motion. The Parties ask this Court
to continue the hearing and reset it for a date certain sometime aHer October 21, 2005. The
Court finds that these reasons are well taken and that a continuance is appropriate

F or the reasons set forth in this Order, the Court hereby ORDERS the following:

l. The Hearing on the Motion for Temporary Restraining Order, which Was set for
July 25, 2005, is hereby continued; and,

2. The Hearing on the Motion for Temporary Restraining Order Wiil be reset for a
date certain some date after October 21, 2005.

IT ls so oRDERED thiS-»~"`[ day aza,g 2005.

U. . DISTRICT COURT JUDGE

 
 
   

   

UN1TED s'T'TAES D1STR1C COURT - WESTENR ISR1ToF TNNESEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 2004 in
case 2:92-CV-02062 was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

Darcey Kathleen Donehey
950 Pennsylvania Ave. N.W.
Washington, DC 20530

Earle J. SchWarZ
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/lemphis7 TN 38103

.1 ack W. Derryberry

WARD DERRYBERRY & THOl\/[PSON
404 .1 ames Robertson Parkway

Ste. 1720

Nashville, TN 37219

Edward G. Connette
LESESNE & CONNETTE
1001 Elizabeth Avenue
Ste. 1-D

Charlotte, NC 28204

Leo Maurice Bearman

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/lemphis7 TN 38103

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Todd Schneider
U.S. DEPARTl\/[ENT OF .TUSTICE
950 Pennsylvania Ave.7 N.W.

Special litigation Section
Washington, DC 20530

Case 2:92-cv-02062-.]P|\/|-tmp Document 2004 Filed 06/22/05 Page 4 of 5 Page|D 9670

Judith A. Gran

PUBLIC lNTEREST LAW CENTER OF PHlLADELPHlA
125 S. 9th Street

Ste. 700

Philadelphia, PA 19107

R. Jonas Geissler

U.S. DEPARTl\/IENT OF .lUSTlCE
950 Pennsylvania Ave.7 NW

Special litigation Section
Washington, DC 20530

Thomas R. Prewitt

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/lemphis7 TN 38103--246

Nicole Porter

U.S. DEPARTl\/IENT OF .lUSTlCE
950 Pennsylvania Ave.7 N.W.
Special litigation Section
Washington, DC 20530

Kimbrough Brown Mullins
WlLLlAMS PROCHASKA P.C.
50 Front St

Ste 1075

1\/lemphis7 TN 38103

Steven W. Likens

HUSCH & EPPENBERGER, LLC- Memphis
200 Jefferson Ave.

Ste. 1450

1\/lemphis7 TN 38103

.loe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Dianne Stamey Dycus

ATTORNEY GENERAL ANl) REPORTER
426 Fifth Avenue North

2nd Floor

Nashville, TN 37243

Case 2:92-cv-02062-.]P|\/|-tmp Document 2004 Filed 06/22/05 Page 5 of 5 Page|D 9671

Frank .l Laski

PUBLIC lNTEREST LAW CENTER OF PHlLADELPHlA
125 S. 9th Street

Ste. 700

Philadelphia, PA 19107

Nancy K. Ray

NKR & Associates, lnc
318 Delaware Ave.7 Ste. 2
Delmar, NY 12054

Financial Unit
FlNANClAL UNlT
167 N. Main St.
Room 242
1\/lemphis7 TN 38103

.lonathan P. Lakey
PlETRANGELO COOK
64 1 0 Poplar

Ste. 190

1\/lemphis7 TN 38119

Buffey Klein

HUSCH & EPPENBERGER
200 Jefferson Ave.

Ste. 1450

1\/lemphis7 TN 38103

William F. Sherman

LAW OFFICES OF WlLLlAl\/l F. SHERMAN
504 Pyramid Place

Little Rock7 AR 72201

S. Russell Headrick

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madison Ave.

Ste. 2000

1\/lemphis7 TN 38103

Honorable Bernice Donald
US DlSTRlCT COURT

